         Case 1:18-cr-00032-DLF Document 339 Filed 02/13/20 Page 1 of 2



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.
                                            Crim. No. 18-CR-32-2 (DLF)
 CONCORD MANAGEMENT AND
 CONSULTING LLC,

               Defendant.


                    UNOPPOSED MOTION FOR ONE-DAY EXTENSION

       The United States of America, by and through undersigned counsel, respectfully requests

a one-day extension of time in which to file its response to the Court’s classified orders of January

29 and February 10, 2020 (docketed Feb. 13, 2020), regarding the government’s pending motion

under the Classified Information Procedures Act.

       The current deadline for the government to respond to the Court’s orders is Monday,

February 17, 2020. The government seeks one additional day, until 5:00 p.m. on February 18,

2020, to file its response. The government seeks this extension in order to complete necessary

consultation with other entities within the Executive Branch regarding the filing and to ensure

proper supervisory review. The government anticipates that it will be unable to complete this

process and submit its filing until the close of business on February 18, 2020, but will endeavor to

provide the response sooner if possible. Counsel for defense does not oppose this motion.

                                         CONCLUSION

       For the foregoing reasons, the government respectfully requests a one-day extension of

time, until 5:00 p.m. on February 18, 2020, to respond to the Court’s orders of January 29 and

February 10, 2020, regarding the government’s pending motion under the Classified Information

Procedures Act.
         Case 1:18-cr-00032-DLF Document 339 Filed 02/13/20 Page 2 of 2



                                    Respectfully submitted,


JOHN C. DEMERS                                           TIMOTHY J. SHEA
Assistant Attorney General for National Security         United States Attorney

/s/ Heather Alpino                                       /s/ Luke Jones
Heather N. Alpino                                        Luke Jones, VA BAR 75053
U.S. Department of Justice                               Peter Lallas
National Security Division                               Adam Jed
950 Pennsylvania Ave. NW                                 555 Fourth Street NW
Washington, D.C. 20530                                   Washington, D.C. 20530
Telephone: (202) 514-2000                                Telephone: (202) 252-7066




                                               2
